      Case:18-21148-MER Doc#:35 Filed:03/14/19                  Entered:03/14/19 22:32:28 Page1 of 5
                                      United States Bankruptcy Court
                                          District of Colorado
In re:                                                                                  Case No. 18-21148-MER
Ryan Joseph Raley                                                                       Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 1082-1           User: dawsont                Page 1 of 2                   Date Rcvd: Mar 12, 2019
                               Form ID: 769                 Total Noticed: 48


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 14, 2019.
db             +Ryan Joseph Raley,    24767 East Wyoming Place,     Aurora, CO 80018-6063
aty            +George Dimitrov,    1777 S. Bellaire St.,,     Ste. 419,    Denver, CO 80222-4322
aty            +Nicholas H. Santarelli,     9800 S. Meridian Blvd., Ste. 400,     Englewood, CO 80112-6038
18297525       +Arapahoe County Public Trustee,     1610 West Littleton Boulevard,     Littleton, CO 80120-2006
18297526       +Arapahoe County Treasurer,     5334 S Prince Street,     Littleton, CO 80120-1136
18297529       +Carrie Hunt,    c/o Child Support Services of Wyoming,      2015 Carey Avenue, #601,
                 Cheyenne, WY 82001-3622
18297531       +College Park Townhomes,     224 College Park Circle,     Gillette, WY 82718-9468
18297535       +E470 Public Highway Authority,     22470 E. 6th Parkway, Ste. 100,     Aurora, CO 80018-2425
18297536       +EMC / Chase Mortgage,     Mail Code OH4-7302,     Po Box 24696,    Columbus, OH 43224-0696
18297539       +Gillette Dental PC,    417 W Flying Cir Drive,     Gillette, WY 82716-3698
18297540       +InboxLoan,    PO Box 881,    Santa Rosa, CA 95402-0881
18297543       +Metro Collection Service,     2600 S. Parker Road,    BLDG 4-340,    Aurora, CO 80014-1690
18297545       +Moneytree,    PO Box 58363,    Seattle, WA 98138-1363
18297546       +Murphy Creek Master HOA,     c/o Summit Management,    4950 S. Yosemite Street, #F2-506,
                 Greenwood Village, CO 80111-1349
18297547       +Murphy Creek Metro. Dist. #3,     c/o Cherry Creek HOA Professionals,
                 14901 E. Hampden Avenue, #320,     Aurora, CO 80014-5055
18297549       +Operating Engineers FC,     Po Box 5073,    Livermore, CA 94551-5073
18297551      ++SNAP ON CREDIT LLC,    950 TECHNOLOGY WAY,     SUITE 301,    LIBERTYVILLE IL 60048-5339
               (address filed with court: Snap-On Credit LLC,       PO BOX 506,    Gurnee, IL 60031)
18297553        Spotloan,    PO BOX 927,    Palatine, IL 60078-0927
18343823       +THE MONEY SOURCE INC.,     500 South Broad Street, Suite #100A,     Meriden, Connecticut 06450-6755
18297554       +The Money Source,    500 S Broad St,     Meriden, CT 06450-6755

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: dan@5280bankruptcy.com Mar 13 2019 00:41:54        Daniel T. Birney,
                 1777 S. Bellaire St.,    Ste. 419,    Denver, CO 80222
tr             +EDI: BMSPETERS.COM Mar 13 2019 04:43:00       M. Stephen Peters,    Box 4610,
                 Frisco, CO 80443-4610
18308187        EDI: HNDA.COM Mar 13 2019 04:43:00       American Honda Finance Corporation,
                 National Bankruptcy Center,    P.O. Box 168088,    Irving, TX 75016-8088
18297524       +EDI: ACECASHXPRESS.COM Mar 13 2019 04:43:00       Ace Cash Express,    3108 S Parker Rd Unit D2,
                 Aurora, CO 80014-3179
18317379       +EDI: ATLASACQU.COM Mar 13 2019 04:43:00       Atlas Acquisitions LLC,    294 Union St.,
                 Hackensack, NJ 07601-4303
18361314       +E-mail/Text: bankruptcy@flagshipcredit.com Mar 13 2019 00:42:39        CARFINANCE CAPITAL,
                 PO BOX 3807,   COPPELL, TX 75019-5877
18297527       +E-mail/Text: shawn.rice@ccmh.net Mar 13 2019 00:42:27        Campbell County Memorial Hospital,
                 501 South Burma Avenue,    Gillette, WY 82716-3426
18297528       +EDI: CAPITALONE.COM Mar 13 2019 04:43:00       Capital One,    Attn Bankruptcy,     Po Box 30285,
                 Salt Lake City, UT 84130-0285
18342044        EDI: CAPITALONE.COM Mar 13 2019 04:43:00       Capital One Bank (USA), N.A.,
                 by American InfoSource as agent,     PO Box 71083,   Charlotte, NC 28272-1083
18297530       +E-mail/Text: banko1@cpicollects.com Mar 13 2019 00:42:27        Collection Professionals, Inc.,
                 29 N. Connor,    Sheridan, WY 82801-4306
18297532       +EDI: CODEPREV.COM Mar 13 2019 04:43:00       Colorado Department Of Revenue,
                 1375 Sherman Street, Room 504,     Denver, CO 80261-2200
18297533       +E-mail/Text: bankruptcy@connexuscu.org Mar 13 2019 00:42:59        Connexus Credit Union,
                 Attn Bankruptcy,     Po Box 8026,    Wausau, WI 54402-8026
18300801        EDI: DISCOVER.COM Mar 13 2019 04:43:00       Discover Bank,    Discover Products Inc,
                 PO Box 3025,   New Albany, OH 43054-3025
18297534       +EDI: DISCOVER.COM Mar 13 2019 04:43:00       Discover Financial,    Po Box 3025,
                 New Albany, OH 43054-3025
18297537       +E-mail/Text: E470BANKRUPTCYCOURT@E470.COM Mar 13 2019 00:43:02        ExpressToll,
                 22470 E 6th Parkway, Ste 110,     Aurora, CO 80018-2426
18297538       +E-mail/Text: bankruptcy@flagshipcredit.com Mar 13 2019 00:42:39        Flagship Credit Acceptance,
                 Po Box 965,   Chadds Ford, PA 19317-0643
18297541        EDI: IRS.COM Mar 13 2019 04:43:00       Internal Revenue Service,    1999 Broadway,
                 Denver, CO 80202
18297542        E-mail/Text: BK@lendup.com Mar 13 2019 00:42:52       LendUp,    225 Bush Street, 11th Floor,
                 San Francisco, CA 94104
18302505        EDI: RESURGENT.COM Mar 13 2019 04:43:00       LVNV Funding, LLC,    Resurgent Capital Services,
                 PO Box 10587,    Greenville, SC 29603-0587
18297544       +E-mail/Text: bankruptcy@moneylion.com Mar 13 2019 00:42:51        MoneyLion,
                 Attn   Bankruptcy Dept,    P.O. Box 1547,    Sandy, UT 84091-1547
18297548       +E-mail/Text: bankruptcydepartment@tsico.com Mar 13 2019 00:42:53        NCO FInancial Systems,
                 10540 White Rock Road,    Rancho Cordova, CA 95670-6094
18297550        E-mail/Text: clientinformation@procollect.com Mar 13 2019 00:41:59         Pro Collect, Inc,
                 Attn Bankruptcy,     12170 N Abrams Road, Suite 100,     Dallas, TX 75243
18302688        EDI: RESURGENT.COM Mar 13 2019 04:43:00       Pinnacle Credit Services, LLC,
                 Resurgent Capital Services,    PO Box 10587,    Greenville, SC 29603-0587
18317183        EDI: Q3G.COM Mar 13 2019 04:43:00       Quantum3 Group LLC as agent for,     Aqua Finance,
                 PO Box 788,   Kirkland, WA 98083-0788
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                                      Form ID: 769                       Total Noticed: 48


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
18297552       +E-mail/Text: bankruptcy@speedyinc.com Mar 13 2019 00:42:16     Speedy Cash,   8400 E 32nd St N,
                 Wichita, KS 67226-2608
18343816       +E-mail/Text: bankruptcy@speedyinc.com Mar 13 2019 00:42:17     Speedy/Rapid Cash,
                 P.O. Box 780408,    Wichita, KS 67278-0408
18298535       +EDI: RMSC.COM Mar 13 2019 04:43:00       Synchrony Bank, c/o PRA Receivables Management, LLC,
                 PO Box 41021,    Norfolk, VA 23541-1021
18297555       +E-mail/Text: bankruptcy@bluefcu.com Mar 13 2019 00:42:06     Warren Federal Credit Union,
                 PO Box 3200,   Cheyenne, WY 82003-3200
                                                                                            TOTAL: 28

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 14, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 12, 2019 at the address(es) listed below:
              Daniel T. Birney   on behalf of Debtor Ryan Joseph Raley dan@5280bankruptcy.com,
               5280bankruptcy@gmail.com;notices@nextchapterbk.com
              George Dimitrov    on behalf of Debtor Ryan Joseph Raley 5280bankruptcy@gmail.com,
               DimitrovGR69942@notify.bestcase.com;Springs5280bankruptcy@gmail.com
              M. Stephen Peters   peters@msplaw.org, CO31@ecfcbis.com
              Nicholas H. Santarelli   on behalf of Creditor   The Money Source Inc.
               bankruptcyecf@janewaylaw.com
              US Trustee   USTPRegion19.DV.ECF@usdoj.gov
                                                                                            TOTAL: 5
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Information to identify the case:
Debtor 1              Ryan Joseph Raley                                                 Social Security number or ITIN        xxx−xx−6937
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            District of Colorado                          Date case filed in chapter 13               12/31/18

Case number:          18−21148−MER                                                      Date case converted to chapter 7           3/11/19


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/17

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Ryan Joseph Raley

2.      All other names used in the
        last 8 years

3.     Address                               24767 East Wyoming Place
                                             Aurora, CO 80018

4.     Debtor's attorney                     Daniel T. Birney                                       Contact phone 720−262−2711
                                             1777 S. Bellaire St.                                   Email dan@5280bankruptcy.com
       Name and address                      Ste. 419
                                             Denver, CO 80222

5.     Bankruptcy trustee                    M. Stephen Peters                                      Contact phone 303−422−8501
                                             Box 4610                                               Email peters@msplaw.org
       Name and address                      Frisco, CO 80443
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline COB#769
                                                                                                                                           page 1
b309a_7cna
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Debtor Ryan Joseph Raley                                                                                                Case number 18−21148−MER


The person designated as Bankruptcy Trustee on the front side of this form has been selected as Interim Trustee of the bankruptcy estate and the trustee's
previously−filed blanket bond is approved. Unless another trustee is elected at the meeting of creditors, the trustee shall serve without further appointment
or qualification. The trustee is deemed to have accepted the appointment, unless the trustee notifies the Court and the U.S. Trustee in writing of any
rejection within seven days after receipt of notice of selection.
6. Bankruptcy clerk's office                     US Bankruptcy Court                                             Hours open Monday − Friday 8:00
                                                 US Custom House                                                 AM − 4:30 PM
     Documents in this case may be filed at this 721 19th St.
     address. You may inspect all records filed Denver, CO 80202−2508                                            Contact phone 720−904−7300
     in this case at this office or online at
     www.pacer.gov.
                                                                                                                 Date: 3/12/19

7. Meeting of creditors                           April 16, 2019 at 01:00 PM                                     Location:

     Debtors must attend the meeting to be        The meeting may be continued or adjourned to a later date.     Byron G. Rogers Federal
     questioned under oath. In a joint case,      If so, the date will be on the court docket.                   Building, 1961 Stout Street, Suite
     both spouses must attend. Creditors may
     attend, but are not required to do so.                                                                      16−200, Room A, Denver, CO
                                                  Under Bankruptcy Rule 4002(b)(1)−(2), you shall bring the      80294
                                                  following to the meeting of creditors:

                                                  1) picture identification issued by a governmental unit, or
                                                  other personal identifying information that establishes the
                                                  debtor's identity AND evidence of a social security number
                                                  OR a written statement that such docmumentation does not
                                                  exist;

                                                  2) documents or copies of a) debtor's current income such
                                                  as the most recent payment advice, pay stub, or earnings
                                                  statement; and b) statements for each of the debtor's
                                                  depository accounts (bank, credit union and investment) for
                                                  the time period that includes the date of the filing of the
                                                  petition OR a written statement that such documentation
                                                  does not exist; and

                                                  3) documentation of monthly expenses claimed if required
                                                  under 11 U.S.C. §707(b)(2)(A) or (B).


8. Presumption of abuse                           Insufficient information has been filed to date to permit the clerk to make any
                                                  determination concerning the presumption of abuse. If more complete information,
     If the presumption of abuse arises, you      when filed, shows that the presumption has arisen, creditors will be notified.
     may have the right to file a motion to
     dismiss the case under 11 U.S.C. §
     707(b). Debtors may rebut the
     presumption by showing special
     circumstances.


9. Deadlines                                    File by the deadline to object to discharge or                   Filing deadline: 6/17/19
                                                to challenge whether certain debts are
     The bankruptcy clerk's office must receive dischargeable:
     these documents and any required filing
     fee by the following deadlines.
                                                  You must file a complaint:
                                                  • if you assert that the debtor is not entitled to
                                                    receive a discharge of any debts under any of the
                                                    subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                    or

                                                  • if you want to have a debt excepted from discharge
                                                    under 11 U.S.C § 523(a)(2), (4), or (6).

                                                  You must file a motion:
                                                  • if you assert that the discharge should be denied
                                                    under § 727(a)(8) or (9).


                                                  Deadline to object to exemptions:                              Filing deadline: 30 days after the
                                                                                                                 conclusion of the meeting of creditors


                                                  The law permits debtors to keep certain property as
                                                  exempt. If you believe that the law does not authorize an
                                                  exemption claimed, you may file an objection.
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    The case trustee must receive these          Deadline to provide documents:                                   Filing deadline: 7 days before the the
    documents by the following deadlines.                                                                         meeting of creditors


                                                 You shall provide to the case trustee a copy of the federal
                                                 income tax return required under applicable law, or a
                                                 transcript of such return, for the most recent tax year ending
                                                 immediately before the commencement of the case and for
                                                 which a federal income tax return is filed, and provide the
                                                 same tax information to creditors that requested a copy at
                                                 least fourteen days prior to the meeting of creditors. See
                                                 Fed. R. Bankr. P. 4002(b). The debtor's failure to comply
                                                 will result in dismissal of the case unless the debtor
                                                 demonstrates that the failure to comply is due to
                                                 circumstances beyond the control of the debtor. See L.B.R.
                                                 1017−2.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                 not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                 exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                 www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                 debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.


Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                            page 2
